                                                     THIS ORDER IS APPROVED.


                                                     Dated: June 24, 2022




                                                    Brenda Moody Whinery, Bankruptcy Judge
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                  Russell Brown
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